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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA

V.                                                    1:10cr101 LG-RHW

BRIAN PARKER


        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION ON
     FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

         THIS DAY this cause came on to be heard upon the Proposed Findings of Fact
and Recommendations of the United States Magistrate Judge after administration of a
guilty plea pursuant to FED. R. CRIM. P. 11 in the above styled and numbered cause, and
the Court having determined that there were no written objections as provided by 28
U.S.C.     636(b)(1)(C), finds that said Proposed Findings of Fact and Recommendations
should be accepted in whole.
         IT IS, THEREFORE, ORDERED AND ADJUDGED that the Proposed Findings Of
Fact and Recommendations on Felony Guilty Plea Before The United States Magistrate
Judge, filed 5/26/2011, should be and are hereby ACCEPTED.
         IT IS FURTHER ORDERED AND ADJUDGED that the plea agreement in this
case should be and is hereby ACCEPTED.
         IT IS FURTHER ORDERED AND ADJUDGED that the Defendant, Brian Parker,
is fully competent and capable of entering an informed plea; that the Defendant is aware
of the nature of the charges and the consequences of the plea; and that the plea is a
knowing and voluntary plea supported by an independent basis in fact containing each of
the essential elements. Defendant is therefore adjudged guilty of that offense.
         SO ORDERED AND ADJUDGED, this the 25th day of July, 2011.




                                         LOUIS GUIROLA, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE
